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              IN THE UNITED STATES DISTRICT COURT FOR THE
                      NORTHERN DISTRICT OF FLORIDA
                           PENSACOLA DIVISION

LEAH SCOTT,

        Plaintiff,

v.                                             Case No. 3:16-cv-719-RV-GRJ

EGLIN FEDERAL CREDIT UNION,

     Defendant.
___________________________/

                                    ORDER

        On April 11, 2017, the Court held a telephonic hearing to address

ECF No. 12, Plaintiff’s Motion to Quash Subpoenas, or alternatively,

Motion for Protective Order, and ECF No. 13, Defendant’s Response in

Opposition to Plaintiff’s Motion to Quash Subpoenas/Motion for Protective

Order with Supporting Memorandum of Law. Plaintiff was represented by

Adam Ellis, and Defendant was represented by Ariel Cook and Gary

Wheeler. For the reasons discussed on the record and incorporated into

this order, as well as summarized below, Plaintiff’s motion to quash is

denied, and Plaintiff’s motion for protective order is granted to the extent it

applies to the third request and added-on language in Defendant’s

subpoena to Old South Land Title, Plaintiff’s current employer.


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                                I. Background

        This is a straight forward employment discrimination case in which

Plaintiff alleges that she was treated differently and terminated on the basis

of her gender. (ECF No. 1-1.) Following the initiation of this lawsuit,

Defendant provided notice of its intent to issue subpoenas on March 2,

2017, stating that the listed third-party subpoenas would be served on

March 6, 2017. (ECF No. 12 at 17–19.) When Defendant did not receive an

objection from Plaintiff, Defendant served the third-party subpoenas on

March 6, 2017. (Id. at 20–51.) On March 11, 2017, Plaintiff notified

Defendant that she objected to any contact with Plaintiff’s current

employer, including the subpoena, which already had been served. (ECF

No. 13 at 4.)

        Following an email exchange between the parties regarding the

subpoena issued to Old South Land Title, Defendant’s counsel explained

that he would move forward with the subpoena over objection, prompting

Plaintiff to file the pending Motion to Quash, or alternatively, Motion for

Protective Order on March 14, 2017. (ECF No. 12.) Although the Motion to

Quash takes issue with each of the third-party subpoenas served by



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Defendant,1 each of the third parties, except for Plaintiff’s current employer,

have been served and already have produced the requested documents to

the Defendant. While the reach of the subpoenas, other than the subpoena

to Plaintiff’s current employer, may have been overly broad, because those

third parties already have produced the requested documents, the motion

to quash those subpoenas is denied as moot.

        Accordingly, the sole remaining dispute involves the subpoena

served on Plaintiff’s current employer, Old South Land Title.

                                  II. Discussion

        In the third-party subpoena served on Old South Land Title

Defendant requests the following information: (1) a job description of all

positions Plaintiff held from May 2016 to present; (2) all application

materials; (3) all disciplinary actions, including documentation of verbal

coaching or counseling; (4) pay records, including W-2 forms; and (5)

documentation relating to Plaintiff’s termination or separation, if applicable.

In addition, the subpoena also provides that it “specifically includes any



        1
         In addition to serving Old South Land Title, Plaintiff’s current employer,
Defendant served subpoenas on: Compass Resorts (where Plaintiff held a seasonal
position after her termination); Coastal Skin Surgery & Dermatology; MidSouth Bank;
Fountain, Schultz & Associates; B3H Corporation; Cornerstone Financial Consultants
and Harrison Finance Company.
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records (including emails and text messages) of any communication with or

about Leah Scott, whether such communications were with Ms. Scott,

other departments or staff of your organization, Ms. Scott, or any third

parties regarding the areas listed above.”

        Because Old South Land Title already has been served with the

subpoena, there is no concern with attempting to shield Plaintiff’s current

employer from knowledge of a lawsuit Plaintiff filed against a former

employer. Instead, Plaintiff argues that the subpoena is overly broad and

disproportionate to the issues in the case. Defendant counters that the

information relates to either the mitigation of damages or an after-acquired

evidence defense.

        In accordance with the Federal Rules of Civil Procedure, discovery is

limited to nonprivileged matter that is “relevant to any party’s claim or

defense and proportional to the needs of the case.” Fed. R. Civ. P. Rule

26(b)(1). Courts have “broad authority to control the scope of discovery.”

Josendis v. Wall to Wall Residence Repairs, Inc., 662 F.3d 1292, 1307

(11th Cir. 2011) (citing Fed. R. Civ. P. 26(b)). The scope of discovery in

employment discrimination cases, although broad, is not limitless. See

Washington v. Brown & Williamson Tobacco Corp., 959 F.2d 1566, 1570

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(11th Cir. 1992).

        A court may, for good cause, grant a motion for a protective order “to

protect a party or person from annoyance, embarrassment, oppression, or

undue burden or expense” by, inter alia, “forbidding inquiry into certain

matters, or limiting the scope of disclosure or discovery to certain matters.”

Fed. R. Civ. P. 26(c)(1). For example, a court may grant a motion for a

protective order if the subpoena requests irrelevant information. See, e.g.,

Auto-Owners Ins. Co. v. Southeast Floating Dock, Inc., 231 F.R.D. 426,

429–30 (M.D. Fla. 2005). Thus, while a defendant may subpoena

employment records in an employment discrimination suit such as this one,

see, e.g., Zeller v. South Cent. Emergency Med. Servs., Inc., No. 1:13-cv-

2584, 2014 WL 2094340 (M.D. Penn. May 20, 2014), such subpoenas are

not without limitation. See, e.g., Premer v. Corestaff Servs., L.P., 323

F.R.D. 692 (M.D. Fla. 2005).

        There is little question that in an employment discrimination suit the

start date of employment after termination, a description of the type of

employment, and the compensation for the employment, are relevant to the

defense of mitigation of damages and possibly the defense of after-

acquired evidence. Consequently, at the hearing Plaintiff did not seriously

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challenge the first, second, or fourth categories of documents requested in

Defendant’s subpoena. In these categories Plaintiff requested Old South

Land Title to provide a job description, application materials,2 and pay

records, including W-2 forms.

        Additionally, Plaintiff does not raise a serious challenge to the fifth

category of documents requested in the subpoena, relating to Plaintiff’s

termination or separation, because it is not applicable in this case as

Plaintiff still works for Old South Land Title. Thus, the two disputed issues

include the third request—“[a]ll disciplinary actions, including

documentation of verbal coachings or counselings”—and the added-on

language at the bottom of the subpoena, which references emails and text

messages regarding Plaintiff.

        Plaintiff argues that the third request for documentation regarding

disciplinary actions seeks to obtain information that is not relevant to the

issues in this case. Defendant says that the request is relevant to

mitigation of damages, and relying upon Zeller, argues that subpoena

language that includes employment applications, job descriptions,


        2
        Application materials include the information Plaintiff provided to her employer
or completed for the purpose of being hired for the position, such as a job application,
resume, and recommendations.
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termination records, and disciplinary documentation is discoverable as

relevant to the defense of mitigation of damages. See Zeller, 2014 WL

204340, at *3–*5.3 Other courts, however, have ruled differently on

subpoenas requesting similar information. See, e.g., Powell v. Regency

Hosp. of Nw. Ind., LLC, No. 2:10-cv-220-PRC, 2011 WL 1157528, at *1–*4

(N.D. Ind. Mar. 28, 2011) (quashing a subpoena requesting from a current

employer employment applications, performance reviews, disciplinary

documents, compensation documentation, and any resignation or

termination documents as “not reasonably calculated to lead to the

discovery of admissible evidence”).

        Here, the Court is not persuaded that the requested information

regarding disciplinary actions is relevant in this case, because Plaintiff

alleges that she was terminated on the basis of gender discrimination and

Defendant asserts that Plaintiff was terminated “for legitimate business

reasons unrelated to her sex/gender.” (ECF No. 7 at 7.) Even assuming

the termination was based upon job performance, evidence of poor job

performance during post-termination employment would not be relevant to

        3
           Zeller differs from this case because Zeller dealt with allegations that the
plaintiff was retaliated against for using FMLA leave, and ultimately discharged as a
result. There the defendants argued, however, that the plaintiff was actually fired for
excessive absenteeism. Zeller, 2014 WL 204340, at *1.
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prove Plaintiff was not a competent employee. The Court, therefore,

concludes that Defendant has not demonstrated that the requested

information goes to mitigation of damages or is otherwise relevant, and

instead finds that the information, at best, would only be relevant to

showing bad character, which is not a permissible reason for acquiring this

information. Accordingly, the Court grants Plaintiff’s motion for a protective

order as to the third category requested in the subpoena. Old South Land

Title is therefore not required to provide this information in response to the

subpoena.

        Plaintiff also argues that the added-on language at the bottom of the

subpoena is overly broad. Defendant, in response, asserts that the

language is not meant as an additional request for information but rather

as a clarification of the different forms the requested information may exist.

While it is unclear whether this added-on language is modifying the five

requests or is a separate request, the Court concludes that requiring Old

South Land Title to search, collect and produce emails and text messages

is not proportional to the needs of this case and therefore not within the

scope of discovery as now defined in Rule 26 of the Federal Rules of Civil

Procedure. Fed. R. Civ. P. 26(b)(1)( “Parties may obtain discovery ... that is

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relevant to any party’s claim or defense and proportional to the needs of

the case, considering the importance of the issues at stake in the action,

the amount in controversy, the parties relative access to relevant

information, the parties’ resources, the importance of the discovery in

resolving the issues, and whether the burden or expense of the proposed

discovery outweighs its likely benefit.”) While emails and text messages

may be fair game for discovery in most cases, in this case it is difficult to

understand how these types of communications could have anything to do

with obtaining post-termination employment information concerning the

terms of employment, length of employment and compensation. Balancing

the marginal relevance of information in emails and text messages against

the time and expense that would be involved for a small business like Old

South Land Title in searching cellular telephones, servers and other

electronic storage facilities makes little sense and would cause Plaintiff’s

current employer to incur an expense that ultimately will have little or no

impact on the outcome of this case.

        Therefore, Plaintiff’s request for a protective order is granted to the

extent that Old South Land Title shall not be required to search for and

produce emails and text messages, as described in the added-on

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language found at the bottom of the subpoena.4

        Accordingly, it is ORDERED:

        Plaintiff’s Motion to Quash Subpoenas, or alternatively, Motion for
        Protective Order, ECF No. 12, is GRANTED to the limited extent that
        Old South Land Title shall not be required to produce documents
        responsive to the third category in the subpoena and shall not be
        required to produce emails and text messages as described in the
        add-on language at the end of the subpoena. In all other respects the
        Motion to Quash Subpoenas, or alternatively, Motion for Protective
        Order is DENIED.

        IN CHAMBERS this 13th day of April 2017.

                                         s/Gary R. Jones
                                        GARY R. JONES
                                        United States Magistrate Judge




        4
         This protective order, however, does not protect Old South Land Title from
compliance in the event Plaintiff submitted the employment application, resume or other
application materials via email. In that case the emails transmitting the application
materials should be produced.
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